Case 1:23-cr-00236-FB                  Document 45-1        Filed 06/17/24   Page 1 of 1 PageID #: 148




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NE"\V YORK
------------------ ------------------- -----------------x
UNITED STATES OF AMERICA
                  - against -                                    23 CR 236 (FB)(MMH)

SAGAR STEVEN SINGH
--··   -- ·-------------------------------------------x
MARCIA M. HENRY, U.S.M.J.:




              CONSENT TO HA VE A PLEA TAKEN BEFORE UNITED STATES
                    MAGISTRATE JUDGE MARCIA M. HENRY




         United States Magistrate Judge Marcia M. Henry has info1med me of my right to have
my plea taken before a United States District Judge. I have further been advised, however, that I
may consent to have my plea taken before Magistrate Judge Marcia M. Henry. I understand
that I will suffer no prejudice ifl refuse to so consent. I further understand that if I do not
consent, the District Court Judge assigned rather than the Magistrate Judge will conduct the plea
allocution.

        After having discussed this matter fully with my counsel, I hereby consent to enter my
plea before United States Magistrate Judge Marcia M. Henry.



                                                               SAGAR STEVEN SINGH
                                                              Defendant



 ELLEN HANLEY SISE
                                                               ½~2~
                                                             ()~REMYL GUTMAN
 Assistant United States Attorney                             :Attorney for the Defendant


By:_ _ B~r~e=o"""'n"""'S'-.-=-
                          '- P-=e=a=
       U nited States Attorney
                                   c e=--- --
                                                                  s/ MMH
                                                              Honor
Dated: W( (J )           tJ.'4{                               Unite tates
       Brooklyn, New York
